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 9
                             UNITED STATES BANKRUPTCY COURT
10
                                      DISTRICT OF NEVADA
11 In re                                            Lead Case No.: BK-19-50102-gs
                                                    (Chapter 7)
12 DOUBLE JUMP, INC.
13             Debtor.                                Substantively consolidated with:
14
     Affects:                                            19-50130-gs   DC Solar Solutions, Inc.
15   ‫ ܈‬DC Solar Solutions, Inc.                          19-50131-gs   DC Solar Distribution, Inc.
16   ‫ ܈‬DC Solar Distribution, Inc.                       19-50135-gs   DC Solar Freedom, Inc.
     ‫ ܈‬DC Solar Freedom, Inc.
17   ‫ ܈‬Double Jump, Inc.
18
     CHRISTINA W. LOVATO, Trustee,
19
               Plaintiff,                             Adversary No.:
20
     v.
21
     AHERN RENTALS, INC. and XTREME                   ADVERSARY COMPLAINT
22   MANUFACTURING, LLC,
23
               Defendants.
24
25          Christina W. Lovato, in her capacity as the chapter 7 trustee (“Trustee” or “Plaintiff”) for
26   the bankruptcy estates of DC Solar Solutions, Inc. (“Solutions”), DC Solar Distribution, Inc.
27   (“Distribution”), DC Solar Freedom, Inc. (“Freedom”, and with Solutions and Distribution, “DC
28   Solar”) and Double Jump, Inc. (“DJ,” and with DC Solar, the “Debtors”), files her complaint

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     (“Complaint”) commencing this adversary proceeding (“Action”) against Ahern Rentals, Inc.
 1
     (“Ahern Rentals”) and Xtreme Manufacturing, LLC (“Xtreme,” and with Ahern Rentals, the
 2
     “Defendants”). The Trustee alleges as follows:
 3
                                              INTRODUCTION
 4
              The Trustee brings this adversary proceeding (“Action”) on behalf of the Debtors’ estate
 5
 6   to avoid and recover transfers made to the Defendants, to disallow Defendants’ proofs of claim

 7   filed in these Bankruptcy Cases, and for other relief.

 8                                                 PARTIES

 9            1.      The Trustee is the chapter 7 bankruptcy trustee for the Debtors. The Trustee has the

10   capacity to commence this action by way of, among other things, 11 U.S.C. § 323.

11            2.      Ahern Rentals is a corporation organized under the laws of the State of Nevada

12   with its principal place of business in Las Vegas. Upon information and belief (according to Dun

13   & Bradstreet), the company has more than 1,500 employees and $500 million in annual revenue.

14            3.      Xtreme is a limited liability company organized under the laws of the State of

15   Nevada with its principal place of business in Las Vegas. Upon information and belief (according

16   to Dun & Bradstreet), the company has more than 130 employees and $120 million in annual

17   revenue.

18                                             JURISDICTION
19            4.      The Bankruptcy Court has jurisdiction over this case and this adversary proceeding
20   under 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A),
21   (B), (C), (F), (H) and (O). Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409.
22            5.      The Trustee consents to the entry of final orders and judgments by the Bankruptcy
23   Court.
24                                      FACTUAL ALLEGATIONS
25      I.         DC Solar and the Carpoff Ponzi Scheme
26            6.      DC Solar was incorporated and headquartered in California.
27            7.      DC Solar had, at all material times, certain legitimate business operations.
28


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            8.      From no later than on or around calendar year(s) 2010 through 2018, DC Solar was
 1
     engaged in a business related to manufacturing, marketing, selling, and leasing mobile solar
 2
     generators (“MSGs”).
 3
            9.      Generally, the business purported to operate as follows. Solutions would
 4
 5   manufacture and sell MSGs for $150,000 each. The buyers were typically tax-equity funds, 95%

 6   owned by a financial investor seeking investment federal tax credits. The buyers would provide

 7   DCSS a $45,000 down-payment (30% of the total purchase price) and execute a promissory note

 8   for the remaining balance. The buyers would lease the MSGs to Solutions’ affiliate Distribution,

 9   which in turn purported to sub-lease the MSG to an end-user/sub-lessee. The end-user’s/sub-

10   lessee’s lease payments were intended to cover the interest payments on the promissory note.

11          10.     Freedom’s role was in connection with marketing, branding and advertising the

12   MSGs and DC Solar, in connection with the socially-conscious nature of solar energy.

13          11.     DC Solar had significant professional, operational and other expenses.

14          12.     The financial investor that acquired the majority stake in the buyer sought to take

15   advantage of valuable federal income tax benefits related to the purchase, use and depreciation of

16   the MSGs.

17          13.     Over the years, Solutions closed over two dozen transactions, purportedly selling
18   over 15,000 MSGs and generating hundreds of millions of dollars of revenue.
19          14.     However, certain DC Solar insiders, including Jeff Carpoff, were also perpetrating
20   a Ponzi scheme (“Carpoff Ponzi Scheme”) through DC Solar and other entities.
21          15.     Carpoff caused DC Solar to transfer monies obtained from new buyers of MSGs to
22   cover obligations owed by earlier buyers. This was contrary to Carpoff’s representations (directly
23   or indirectly) to the financial investors that sub-lessee revenue would pay those obligations. And
24   while Carpoff (directly and indirectly) communicated to the financial investors that DC Solar had
25   manufactured over 15,000 MSGs, the actual figure was far less. Moreover, although Carpoff
26   (directly or indirectly) represented to the financial investors that DC Solar had a series of sub-
27   lessees willing to pay to utilize the MSGs, some sub-leases were real but others were not.
28


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               16.      Further, Carpoff looted DC Solar to, among other things, fund his lavish lifestyle,
 1
     including through casino gambling and the use of private jets and the purchase of real and personal
 2
     property (such as automobiles). And Carpoff looted DC Solar to, among other things, pay-off co-
 3
     conspirators and make payments such as marketing payments (legitimate or illegitimate) to third-
 4
 5   parties. This all was intended, in material part, to further the Carpoff Ponzi Scheme and/or create

 6   the perception that DC Solar was profitable.

 7             17.      Because of (among other things) the harm that Carpoff inflicted upon DC Solar

 8   through his wrongdoing, including the liabilities Carpoff created for DC Solar, including the

 9   Carpoff Ponzi Scheme, DC Solar was insolvent on the dates of the Total Transfers (defined below).

10             18.      Aside from Carpoff, some of DC Solar’s other insiders knew of and participated in

11   the Carpoff Ponzi Scheme. However, certain other DC Solar-insiders, including certain individuals

12   who owned equity interests, and certain individuals who served as officers, and certain individuals

13   who were executives, and certain individuals that held (or also held) management-level positions

14   at different times and each with varying levels of authority, over one or more of the Debtors, did

15   not know of the Carpoff Ponzi Scheme.

16      II.          The Raid Through the Debtors’ Bankruptcy Filing

17             19.      On December 18, 2018, Federal law enforcement raided the business locations of

18   Solutions, Distribution, and certain other affiliates (“Raid”).
19             20.      After December 18, 2018 and before the Petition Date (defined below), DC Solar
20   made substantial corporate governance changes, and retained GlassRatner Advisory & Capital
21   Group LLC and designated Seth R. Freeman as chief restructuring officer.
22             21.      On February 3, 2019 (“Petition Date”), Solutions filed its voluntary chapter 11
23   petition in the Bankruptcy Court, and around the same time, the other Debtors filed voluntary
24   chapter 11 petitions as well. The Debtors’ chapter 11 bankruptcy cases were converted to chapter
25   7 on March 22, 2019, and the Trustee was appointed as the chapter 7 trustee.
26      III.         Ahern Rentals and Xtreme Were Closely Affiliated
27             22.      At all relevant times, Ahern Rentals and Xtreme were closely affiliated.
28


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            23.      Don Ahern was the ultimate majority owner and had material control over a group
 1
     of entities he coined the “Ahern Family of Companies.” Ahern Rentals and Xtreme are in the
 2
     “family.” Ahern Rentals was considered the “mother.”
 3
            24.      Ahern Rentals is an equipment rental operation. Xtreme is an equipment
 4
 5   manufacturing operation. Ahern Rentals and Xtreme shared governance, business planning, office

 6   space, employees, customers, and marketing, among other things.

 7          25.      Don Ahern intended for the entities’ corporate culture to be as a closely-owned

 8   business in which he was intimately involved. Indeed, Don Ahern’s father started in the equipment

 9   business, then Don Ahern took over and grew the business, and Don Ahern’s son, Evan Ahern,

10   was potentially next-in-line.

11          26.      In October 2015, Don Ahern announced his creation of a “global senior executive

12   management team” (“Senior Team”) to oversee the Ahern Family of Companies. Don Ahern and

13   Evan Ahern would lead the Senior Team and “develop and implement strategies to steer the Ahern

14   family of companies.”

15          27.      Don Ahern also created a “steering committee” for the Ahern Family of Companies,

16   comprised of leaders from the entities, including Ahern Rentals and Xtreme. The steering

17   committee met approximately twice-per-month to discuss matters that impacted and affected the
18   entities. The steering committee was in place by no later than 2019, and upon information and
19   belief was created earlier.
20          28.      Evan Ahern was a long-time fixture at Ahern Rentals and Xtreme – he grew up in
21   the business.
22          29.      Evan Ahern began working for his father in 1990, eventually holding senior
23   positions at Ahern Rentals including as a Board member (2004 – at least August 2017), Executive
24   Vice President (2004 – 2014), and President (2014 – at least August 2017). From August 2017
25   through December 2018, Evan Ahern remained in an executive-type capacity earning
26   approximately $800,000 per year, although his role was meaningfully altered.
27
28


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              30.      Evan Ahern also was part of Xtreme’s corporate governance. Evan Ahern provided
 1
     services on Xtreme’s behalf, including related to computer technology, sales, business
 2
     development, and executing certain contracts.
 3
              31.      In addition to Don Ahern and Evan Ahern, other persons simultaneously held senior
 4
 5   executive roles or authority at both Ahern Rentals and Xtreme, such as Kirk Hartle (finance), Sami

 6   Bakdash (legal), and Michael McGhee (IT).

 7      IV.         Ahern Rentals and Xtreme Connects with DC Solar and Sees Opportunity

 8            32.      In 2013, Evan Ahern and Don Ahern (and Ahern Rentals and Xtreme) connected

 9   with Carpoff (and DC Solar). Evan Ahern and Don Ahern identified profit-making opportunities

10   with Carpoff.

11            33.      From the start, Ahern Rentals and Xtreme (on the one hand) and DC Solar (on the

12   other hand) contemplated a “unique” relationship, consisting of both equipment manufacturing

13   (Xtreme) and equipment rental (Ahern Rentals).

14            34.      An executive of both Ahern Rentals and Xtreme described the relationship with DC

15   Solar as a “strategic alliance” “inclusive of manufacturing and distribution.”

16            35.      Carpoff worked with Don Ahern and Evan Ahern, and others, so that: (1) Xtreme

17   would manufacture MSGs for DC Solar; while (2) Ahern Rentals would lease MSGs owned by

18   DC Solar, including for sub-lease as part of Ahern Rentals’ equipment fleet.
19            36.      This was a package deal, i.e., the relationship with one was dependent on the
20   relationship with the other.
21            37.      Ahern Rentals and Xtreme understood the mechanics of DC Solar’s business
22   model, including the structure of the tax advantaged transactions. Ahern Rentals and Xtreme
23   understood that typically:
24                     a. Solutions would manufacture the MSGs.
25                     b. Solutions would sell the MSGs to a tax equity fund (the investor), making a
                          down payment and the remainder through a promissory note.
26
27                     c. The fund would lease the MSGs to Distribution. And then,

28                     d. Distribution would sub-lease the MSGs to third party end-users.


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              38.      Ahern Rentals and Xtreme understood that Carpoff represented to investors that:
 1
     (1) the end-users would pay Distribution on the sub-lease; (2) Distribution would pay the tax equity
 2
     fund on the lease; (3) the tax equity fund would pay Solutions on the note.
 3
              39.      By no later than July 2014, Don Ahern and Evan Ahern – in connection with the
 4
 5   relationship that they and Ahern Rentals and Xtreme had with DC Solar – engaged outside counsel

 6   that specialized in “federal tax matters” who had “experience with renewable energy financing and

 7   the related tax credits aspects.”

 8       V.         The DC Solar-Ahern Rentals-Fund IX Transaction

 9                     A. Fund IX Transaction Structure, Including Ahern Rentals’ Role

10            40.      By in or around mid-2014, Carpoff was working on a tax equity transaction (“Fund

11   IX Transaction”) in furtherance of the Carpoff Ponzi Scheme with an investor (“Fund IX

12   Investor”). The Fund IX Transaction differed from other DC Solar-sponsored tax equity

13   transactions in that Distribution would not be the middle-man / master lessee. The Fund IX Investor

14   required that the MSG-lessee be an end user unaffiliated with Carpoff or DC Solar. Therefore, the

15   Fund IX Investor required that the fund (Solar Eclipse Fund IX (“Fund IX”)) contract directly

16   with the MSG-lessee without Distribution’s involvement.

17            41.      Fund IX would not have closed a transaction with DC Solar absent this change to

18   the typical structure.
19            42.      This created a challenge for Carpoff. Typically, he masked the inadequate third-
20   party lease revenue through a circular flow of funds from investor-to-Solutions-to-Distribution-to-
21   investor.
22            43.      But without Distribution serving as the MSG-lessee, Carpoff had to adapt. Carpoff
23   needed help him to conceal the lack of lease revenue.
24            44.      Carpoff arranged for Ahern Rentals and another company - KMH Systems, Inc.
25   (“KMH”) – to provide that help.
26            45.      The Fund IX Transaction provided for Fund IX to buy 619 MSGs from Solutions,
27   and then lease (1) 300 MSGs to KMH; and (2) 319 MSGs (“319 MSGs”) to Ahern Rentals (“Fund
28   IX-Ahern Rentals Lease”).

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            46.     Ahern Rentals would then sub-lease (“Ahern Rentals-EE Sublease”) the 319
 1
     MSGs to Efficient Energy Distribution, Inc. (“EE”). Patrick Moore purportedly signed the Ahern
 2
     Rentals-EE Sublease on behalf of EE. Carpoff guaranteed EE’s obligations under the EE Sublease.
 3
            47.     Evan Ahern, Don Ahern, Ahern Rentals, and Xtreme knew that Fund IX (1)
 4
 5   required the sub-lessee EE to be unaffiliated with DC Solar; and (2) received and relied upon a

 6   representation that EE was unaffiliated with DC Solar.

 7          48.     Pursuant to the Fund IX-Ahern Rentals Lease, Ahern Rentals would pay Fund IX

 8   $900 per month per MSG. Pursuant to the Ahern Rentals-EE Sublease, EE would pay Ahern

 9   Rentals $1,150 per month per MSG. This $250 monthly spread for each of the 319 units enabled

10   Ahern Rentals to “earn” $957,000 in gross profit per year.

11          49.     Ahern Rentals performed no meaningful substantive work for this profit and

12   benefitted greatly financially from the transaction, which was atypical and unusual for Ahern.

13          50.     Due to the unusual nature of the transaction, Ahern Rentals created a “dedicated

14   location” in its computers, separate-and-apart from other matters, to track the 319 MSGs. Ahern

15   Rentals also created a stand-alone P&L (profit-and-loss statement), separate-and-apart from its

16   otherwise financial monitoring, to track this transaction.

17                  B. Don Ahern and Evan Ahern Knew Carpoff Lied to Fund IX and Claimed DC
                       Solar and EE Were Unaffiliated
18
19          51.     Don Ahern and Evan Ahern knew that the Fund IX Investor required EE to be

20   unaffiliated with DC Solar and that Fund IX would not have consummated the Fund IX

21   Transaction had it known the truth that Carpoff controlled EE.

22          52.     And yet Don Ahern and Evan Ahern knew that EE in fact was affiliated with DC

23   Solar and that therefore Carpoff was deceiving Fund IX and the Fund IX Investor. For instance:

24          53.     Ahern’s corporate representative testified as follows at the Trustee’s November 30,

25   2021 R. 2004 examination of Ahern Rentals (“Ahern Rentals R. 2004 Examination”):

26          Q.      Who was Efficient Energy Distribution?
            A.      My understanding is it’s DC Solar.
27          Q.      So why not just lease [MSGs] to DC Solar? Why have a separate entity
                    called Efficient Energy Distribution, Inc.?
28
            A.      I don’t know the answer to that. I mean, that’s -- that seems like a business

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                    decision on Jeff [Carpoff]’s side or DC Solar’s side.
 1
                                                 ***
 2          Q.      Ahern Rentals considered Efficient Energy Distribution to be an affiliate of
                    DC Solar Solutions, Inc., right?
 3          A.      Correct.
 4
            54.     When Don Ahern, Evan Ahern, or Ahern Rentals wanted to communicate with EE,
 5
     they communicated with Carpoff. Evan Ahern, Don Ahern, and Ahern Rentals, considered Carpoff
 6
     to be EE’s “face person.”
 7
            55.     Although Ahern Rentals’ ability to pay its lease payments to Fund IX was
 8
     dependent on Ahern receiving the sub-lease payments from EE, neither Evan Ahern, Don Ahern,
 9
     nor Ahern Rentals performed any meaningful due diligence on EE. Ahern’s corporate
10
     representative testified as follows at the Ahern Rentals R. 2004 Examination:
11
            Q.      How did Ahern [Rentals] know that Efficient Energy had the financial
12                  capacity to pay $1,150 per month for each of these 319 units for 10 years?
            A.      I don’t know the answer to that.
13          Q.      Can you tell me any due diligence Ahern Rentals did on the financial
14                  capacity of Efficient Energy Distribution to make those payments?
            A.      No.
15          Q.      For instance, tax returns, income statement, a balance sheet, a P&L, bank
                    statements, anything at all that Ahern asked to look at for Efficient Energy
16
                    to confirm that Efficient Energy had the ability to make these sort of
17                  payments?
            A.      No.
18          Q.      How did Ahern Rentals know that Efficient Energy could make the
                    payments?
19
            A.      I don’t know the answer.
20
            56.     In February 2015 Ahern Rentals created an email address for Carpoff to access in
21
     his role as EE’s representative: efficient_energy@ahern.com. Ahern Rentals understood that
22
     emails to this address would be delivered to Carpoff.
23
            57.     Ahern Rentals delivered the invoices for which EE was the obligor to Carpoff.
24
     When payments were late, Ahern Rentals contacted Carpoff. Ahern Rentals never had direct
25
     contact with Mr. Moore.
26
            58.     In July 2015 when Ahern Rentals had failed to receive three monthly lease
27
     payments totaling over $1 million from EE due and owing under the Ahern Rentals-EE Sublease,
28


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     Ahern Rentals (through Evan Ahern) formally defaulted Carpoff as the guarantor. But Ahern
 1
     Rentals never declared a default or demanded payment from its primary obligor: EE.
 2
              59.      Evan Ahern, Don Ahern, and Ahern Rentals knew that DC Solar made EE’s lease
 3
     payments directly to Ahern Rentals.
 4
 5            60.      On March 13, 2015, EE filed formal dissolution papers with the California

 6   Secretary of State stating EE held no assets. Don Ahern, Evan Ahern, and Ahern Rentals knew or

 7   should have known this. Yet, Don Ahern, Evan Ahern, and Ahern Rentals did nothing about its

 8   primary obligor’s dissolution.

 9            61.      In 2016, DC Solar requested that Ahern Rentals change the title of the EE account

10   with Ahern Rentals to DC Solar.

11                     C. The Fund IX Transaction was Part of the Carpoff Ponzi Scheme

12            62.      The Fund IX Transaction, including Don Ahern, Evan Ahern, and Ahern Rentals’
13   willing supporting role, was all part of and in furtherance of the Carpoff Ponzi Scheme.
14            63.      Because of Don Ahern, Evan Ahern, and Ahern Rentals’ willingness to help to
15   deceive Fund IX, Carpoff was able to expand and grow the Carpoff Ponzi Scheme as follows:
16                     a. DC Solar sold the 319 MSGs to Fund IX in exchange for a down payment and
17                        a note.

18                     b. Fund IX leased the 319 MSGs to Ahern Rentals; and then
19                     c. Ahern Rentals leased the 319 MSGs to EE, which was affiliated with DC Solar
                          and the payments were funded by DC Solar.
20
21            64.      Carpoff (on the one hand) and Don Ahern, Evan Ahern, and Ahern Rentals (on the

22   other hand) worked together to facilitate circular payments of monies, beginning-and-ending with

23   DC Solar, with no meaningful underlying legitimate business (use of the 319 MSGs) funding the

24   payments. EE was not a true end user of the MSGs.

25      VI.         The Back-Dated and Bogus DC Solar-Ahern Rentals Lease

26            65.      On April 20, 2015, Carpoff sent an email (“April 20, 2015 Email”) to Evan Ahern

27   attaching three documents:

28


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                    a. A lease dated June 1, 2014 between Distribution and Ahern Rentals, whereby
 1
                       Ahern Rentals would lease 1,000 units from Distribution for $900 per month
 2                     per MSG, executed by Paulette Carpoff (Jeff Carpoff’s wife) on behalf of
                       Distribution.
 3
                    b. A sub-lease dated June 1, 2014 between Ahern Rentals and Solutions, whereby
 4
                       Ahern Rentals would sub-lease back to Solutions those same 1,000 units, for
 5                     the same $900 per month per MSG, executed by Carpoff on behalf of Solutions.

 6                  c. A personal guaranty signed by Carpoff.
 7          66.     In his April 20, 2015 Email, Carpoff stated that they had been working on these
 8   three documents for “over a year.” Carpoff signed (or caused to be signed) each of these documents
 9   as if they were executed on June 1, 2014.
10          67.     But Evan Ahern knew that these documents were not signed on June 1, 2014 and
11   were in truth signed many months later and backdated to provide a false representation.
12          68.     Evan Ahern knew that the transaction encapsulated in this email (the lease to Ahern
13   Rentals and then the lease back from Ahern Rentals, of the same 1,000 units, for the same monthly
14   lease-price) made zero financial or business sense.
15          69.     Nonetheless, Evan Ahern, as President of Ahern Rentals, executed the June 1, 2014
16   lease of 1,000 units (from Distribution to Ahern Rentals), back-dated to June 1, 2014 (“June 1,
17   2014 Prime Lease”).
18          70.     Carpoff used the June 1, 2014 Prime Lease in furtherance of the Carpoff Ponzi
19   Scheme, including to induce investors to invest in transactions.
20      VII.      Xtreme
21                  A. Xtreme and Ahern Rentals Were Unified With Regard to DC Solar
22          71.     In part because of the overlapping ownership, corporate governance, and operations
23   between Ahern Rentals and Xtreme, their decision to do business with DC Solar was a joint one.
24   Ahern Rentals’ business relationship with DC Solar was dependent on Xtreme’s business
25   relationship with DC Solar.
26          72.     On November 11, 2014, Evan Ahern – Ahern Rentals’ then-President and Board
27   member – signed a manufacturing agreement (“Manufacturing Agreement”) on behalf of Xtreme
28


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     memorializing the business relationship between Xtreme and DC Solar. Don Ahern also approved
 1
     the agreement and Evan Ahern’s execution of it on Xtreme’s behalf.
 2
            73.     Xtreme manufactured MSGs for DC Solar knowing (through at least Don Ahern
 3
     and Evan Ahern) that Carpoff was deceiving investors and third parties, such as Fund IX, about
 4
 5   DC Solar’s operations and leasing of units.

 6                  B. Carpoff Required a Compliant Manufacturing Partner to Further the Carpoff
                       Ponzi Scheme, and Found that Partner in Xtreme
 7
            74.     Carpoff required a manufacturing partner to further the Carpoff Ponzi Scheme.
 8
            75.     Carpoff desired to manufacture MSGs with Xtreme for a number of reasons. This
 9
     would maintain legitimate business at DC Solar. But it would also further the Carpoff Ponzi
10
     Scheme by: (1) giving the appearance of a successful and legitimate operation; (2) rewarding Don
11
     Ahern and Evan Ahern financially for assisting Carpoff’s wrongdoing; and (3) inducing investors
12
     to continue to invest with DC Solar, which was the cash-engine for the Ponzi Scheme.
13
            76.     Carpoff represented to investors and potential investors that: (1) Xtreme was a
14
     manufacturer of MSGs; and (2) Ahern Rentals was an end-user of MSGs. This furthered the
15
     solicitation of new investors. Indeed, certain potential and actual investors had direct and indirect
16
17   communications with Xtreme, sometimes through Evan Ahern, regarding Xtreme’s and Ahern

18   Rentals’ relationship with DC Solar.

19          77.     Xtreme was a willing participant in Carpoff’s wrongdoing, including by (1)

20   manufacturing MSGs knowing that Carpoff was making misrepresentations to investors and

21   engaged in other wrongdoing; (2) providing information about itself to be included in DC Solar

22   marketing materials which it knew would be used to induce new investors to invest with DC Solar;

23   and (3) serving as a reference to investors and potential investors while concealing wrongdoing

24   from them.

25      VIII. Evan Ahern, Don Ahern, Ahern Rentals, and Xtreme Had a Close and Deviant
              Relationship with Carpoff
26
            78.     Evan Ahern, Don Ahern, Ahern Rentals, and Xtreme had a close and deviant
27
     relationship with Carpoff. For instance:
28


                                                      12
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         A. Personal Relationship
 1
             79.      Evan Ahern and/or Don Ahern (on the one hand) and Carpoff (on the other hand)
 2
     had a personal relationship. For example, they had family dinner and a barbeque. They discussed
 3
     personal matters.
 4
 5           80.      Carpoff recognized that Don Ahern and Evan Ahern were highly motivated to make

 6   money, and that they were willing to commit bad acts. Carpoff learned that Don Ahern had strong

 7   disdain for his son and was mean and abusive towards him, which contributed to Evan Ahern

 8   experiencing financial pressures. Ultimately, in 2020, Evan Ahern filed a bankruptcy petition in

 9   this District.

10       B. Shared Office Space

11           81.      Evan Ahern, through a company he owned and controlled, leased office space from

12   DC Solar at a DC Solar-business location.

13           82.      As a result, from at least 2016 – 2018, Evan Ahern maintained an office at a DC

14   Solar business location – the same location as Carpoff’s office.

15       C. Fund IX

16           83.      Evan Ahern and Don Ahern were willing to deceive the Fund IX Investor.

17       D. Ahern Ad
18           84.      Evan Ahern, through Ahern Ad, LLC (“Ahern Ad”), did business with Carpoff.
19   They worked on an electric vehicle charging business and an advertising business, all related to
20   DC Solar MSGs.
21           85.      Evan Ahern received better than arms-length terms on these business dealings.
22           86.      Evan Ahern through Ahern Ad signed certain false documents reflecting that Ahern
23   Ad was leasing MSGs from DC Solar, when in fact it was not.
24       E. Evan Ahern’s Inducement of New Victims into the Carpoff Ponzi Scheme
25           87.      At Carpoff’s request and on behalf of Ahern Rentals and Xtreme, Evan Ahern (and
26   others at Ahern Rentals and Xtreme) provided a “reference” for Carpoff and DC Solar. Carpoff
27   asked Evan Ahern to speak with potential investors to vouch for Carpoff in furtherance of the
28   Carpoff Ponzi Scheme.

                                                     13
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            88.      Evan Ahern faithfully served as a reference, evincing the close relationship. He also
 1
     omitted facts from the potential investors making his representations to them false or misleading.
 2
     For instance:
 3
            89.      First, in April 2017, a potential investor considering a transaction with DC Solar
 4
 5   requested to speak with Ahern Rentals as part of its due diligence. DC Solar connected the potential

 6   investor with Evan Ahern and a conference call was arranged. After that call, the potential investor

 7   reported back to DC Solar in part as follows:

 8         Evan [Ahern] was a wealth of information as well as very generous with his time.
           I’m not sure I understood before how heavily his company was involved in the
 9         manufacture of the equipment. Perhaps because of this, he was much more
           knowledgeable than I was expecting.
10   (emphasis added).
11
12   “[Evan Ahern’s] company” that was “heavily … involved in the manufacture of the equipment”

13   and that allowed him to be so “knowledgeable,” was Xtreme.

14          90.      Evan Ahern concealed and failed to disclose to this potential investor Ahern

15   Rentals’ deceptive and fraudulent role in the Fund IX Transaction.

16          91.      Second, in May 2017, to assist Carpoff’s securing another investor, Evan Ahern

17   and Michael McGhee provided Carpoff with information about DC Solar’s relationship with

18   Ahern Rentals and Xtreme. Evan Ahern and Michael McGhee included information regarding both
19   the Fund IX Transaction and the June 1, 2014 Prime Lease.
20          92.      As part of this information, Evan Ahern and Michael McGhee referenced “the next
21   [DC Solar] transaction being contemplated” and that “the extent of DC Solar’s relationship with
22   Ahern [goes] beyond being a sublessor of units” to include “manufacturing affiliate Xtreme”,
23   which “continues to work with [DC Solar] both on production and R&D projects.” Evan Ahern’s
24   and Michael McGhee’s goal was to vouch for and support Carpoff.
25          93.      Again, Evan Ahern and Michael McGhee concealed and did not disclose to this
26   potential investor the wrongdoing in connection with the Fund IX Transaction.
27
28


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            94.       Third, in June 2018, at DC Solar’s request, Evan Ahern spoke with a potential
 1
     investor and they “discussed the fact that … Ahern Rentals was leasing DC Solar units and renting
 2
     them to customers and Xtreme Manufacturing was manufacturing units as well.”
 3
            95.       Again, Evan Ahern concealed and did not disclose to this potential investor the
 4
 5   wrongdoing in connection with the Fund IX Transaction.

 6          96.       Evan Ahern concealed and did not disclose to this potential investor that in August

 7   2017 his employment relationship with Ahern Rentals changed. Evan Ahern concealed this

 8   information to maximize the value and effectiveness of his vouching for Carpoff.

 9      F. Sharing Confidential Information

10          97.       Evan Ahern shared confidential and attorney-client privileged information with

11   Carpoff. In doing so, Evan Ahern waived the attorney-client privilege held between Ahern Rentals

12   and its legal counsel.

13          98.       For example, on August 22, 2014, attorneys representing Ahern Rentals and

14   Xtreme emailed Evan Ahern regarding the Fund IX Transaction, including business and legal

15   points. The bottom of the email states:

16                    This email may contain material that is confidential, privileged
                      and/or attorney work product for the sole use of the intended
17                    recipient.
18
            99.       Within hours of receipt, Evan Ahern forwarded this August 22, 2014 email to
19
     Carpoff, cautioning him:
20
                                 Fyi … Confidential, keep this to yourself. …
21
            100.      Evan Ahern believed his relationship with Carpoff was so intimate that he could
22
     share internal, confidential information and Carpoff could be trusted to maintain that information
23
     in confidence.
24
        G. Select Other Items
25
            101.      On September 8, 2014, Carpoff and his wife contributed $10,000 to a candidate’s
26
     campaign for Lieutenant Governor of Nevada that was solicited by Don Ahern or Evan Ahern.
27
     Ahern family members also contributed significant sums to this campaign.
28
            102.      At least one individual worked for both DC Solar and Ahern Rentals.

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              103.   In August 2016, Carpoff offered Evan Ahern free use of Carpoff’s condominium
 1
     in Cabo, Mexico.
 2
        IX.      Evan Ahern Signed Certain False and Fabricated Acceptance Certificates
 3
              104.   Carpoff used acceptance certificates (“Acceptance Certificates”) as part of DC
 4
     Solar’s business and his fraudulent scheme to demonstrate to investors that a particular lessee had
 5
 6   accepted (received, tested, and inspected) specific batches of MSGs.

 7            105.   Evan Ahern considered the Acceptance Certificates to be “very important” because

 8   they verified that MSGs were delivered, tested, and received.

 9            106.   Among other times, in 2017, Carpoff induced investors to invest hundreds of

10   millions of dollars as part of the Carpoff Ponzi Scheme in reliance on Acceptance Certificates

11   which identified “Evan Ahern” as the signatory. In doing so Evan Ahern attested to the fact that

12   Ahern Rentals had accepted hundreds of MSGs.

13            107.   Evan Ahern has denied under oath signing certain of these Acceptance Certificates,

14   claiming his signature was forged. On another occasion he claimed he quickly, mistakenly, and

15   innocently signed the “very important” Acceptance Certificate because he failed to read it.

16            108.   Upon information and belief, Evan Ahern gave false testimony under oath at his

17   Rule 2004 examination and in fact did sign these Acceptance Certificates.

18            109.   Upon information and belief, Evan Ahern knowingly signed and delivered to
19   Carpoff, for delivery to his investors, these Acceptance Certificates that purported to show that
20   Ahern Rentals (and / or Ahern Ad) took delivery of many hundreds of MSGs from DC Solar under
21   long-term leases. Evan Ahern did so to assist Carpoff in deceiving investors.
22            110.   Upon information and belief, Carpoff paid Evan Ahern in cash as his compensation
23   (bribes) for improperly signing the false Acceptance Certificates. Upon information and belief
24   Evan Ahern did not properly report these payments in his Tax Returns in order to conceal these
25   payments because he knew they were wrongful, unearned, and improper. This reflects his
26   consciousness of guilt.
27
28


                                                     16
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        X.       Evan Ahern Signed and Back-Dated a False Acceptance Certificate
 1
              111.   In addition to the false and fabricated Acceptance Certificates discussed in Section
 2
     IX above, in June 2018 Carpoff emailed Evan Ahern directing him to sign an Acceptance
 3
     Certificate that had been backdated almost two-and-a-half years to February 15, 2016.
 4
 5            112.   Evan Ahern obliged and promptly signed and returned this Acceptance Certificate

 6   to Carpoff later that same day.

 7            113.   Carpoff used this back-dated Acceptance Certificate in furtherance of the Carpoff

 8   Ponzi scheme and to mislead investors and potential investors.

 9      XI.      Other Bribes of Evan Ahern

10            114.   Carpoff used the entity J&C Consulting, Inc. (“J&C”), among other entities, to

11   perpetrate the Carpoff Ponzi Scheme. Carpoff’s sister, Carrie Boden, was formally J&C’s owner

12   and sole officer. However, she took direction from Carpoff related to J&C.

13            115.   For example, Carpoff directed Boden to make transfers out of J&C to further the

14   Carpoff Ponzi Scheme by: (1) looting DC Solar for Carpoff’s personal benefit; (2) paying bribes

15   to co-conspirators in the Ponzi scheme, such as Alan Hansen, who also signed a fraudulent lease.

16            116.   Carpoff bribed Evan Ahern through J&C to induce Evan Ahern to assist and cause

17   Ahern Rentals to assist in the Carpoff Ponzi Scheme and to otherwise reward Evan Ahern. For

18   instance:
19                   a. On April 27, 2017, J&C transferred $250,000 to Ahern Ad to benefit Evan
                        Ahern.
20
21                   b. On June 21, 2018, J&C transferred $100,000 to Ahern Ad to benefit Evan
                        Ahern.
22
                     c. On November 14, 2018, J&C transferred $100,000 to Evan Ahern’s entity
23                      GPSPro, LLC to benefit Evan Ahern.
24
              117.   Neither Evan Ahern nor J&C nor Ahern Ad nor GPSPro memorialized in writing
25
     the terms of these transfers, which were bribes.
26
        XII.     There was Some Real Manufacturing and Real Renting of Units
27
              118.   Xtreme Manufacturing did manufacture some MSGs for DC Solar. However,
28


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     Xtreme manufactured less MSGs than DC Solar paid for.
 1
            119.    Ahern Rentals did lease some MSGs from DC Solar, which it placed in its
 2
     equipment fleet for rental to third parties. However, Ahern Rentals had trouble sub-leasing these
 3
     MSGs. And many MSGs had operational problems.
 4
 5          120.    Nonetheless, because of their close and wrongful relationship, and the financial

 6   benefits that Ahern Rentals and Xtreme were gaining, Evan Ahern and Don Ahern maintained

 7   these MSGs in their equipment rental fleet.

 8      XIII. Ahern Rentals’ Termination of Evan Ahern

 9          121.    By no later than February 13, 2019, law enforcement publicly filed a declaration

10   discussing the Carpoff Ponzi Scheme including Ahern Rentals’ improper role in the Fund IX

11   Transaction.

12          122.    On April 5, 2019, Ahern Rentals terminated Evan Ahern’s employment (an

13   employee since 1990, including EVP, President, and Board Member) “for cause.”

14          123.    Ahern Rentals’ “cause” for termination included Evan Ahern’s wrongdoing in

15   connection with DC Solar.

16      XIV. The Transfers

17          124.    Within four years of the Petition Date, Carpoff caused Solutions and Distribution

18   to make each of the transfers to Ahern Rentals as reflected in Exhibit 1 (“Ahern Transfers”),
19   totaling $17,272,547.32.
20          125.    Within four years of the Petition Date, Carpoff caused Solutions to make each of
21   the transfers to Xtreme as reflected in Exhibit 2, totaling $15,826,270.04 (“Xtreme Transfers”,
22   and together with the Ahern Transfers, the “Total Transfers”).
23          126.    The amount of the Total Transfers is $33,098,817.36.
24      XV.     Triggering Creditor
25          127.    There was and is at least one creditor of the Debtors in existence at the time of the
26   Total Transfers who held at all material times an unsecured claim that was and is allowable under
27   Bankruptcy Code § 502.
28


                                                     18
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             128.    These creditors include at least: (1) SolarSense DCS I, LLC; (2) Solar Eclipse
 1
     Investment Fund III, LLC; (3) PG&E; (4) Ally Bank; and (5) Fund IX.
 2
                                           CLAIMS FOR RELIEF
 3
                                                 COUNT I
 4
                                   Preferential Transfer - 11 U.S.C. § 547
 5                                            [Ahern Rentals]

 6           129.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
 7           130.    DC Solar made certain of the Ahern Transfers within 90 days of the Petition Date
 8   (“Ahern Rentals 90-Day Transfers”).
 9           131.    DC Solar made certain of the Ahern Transfers within 1 year of the Petition Date
10   (“Ahern 1-Year Transfers,” together with the Ahern 90-Day Transfers, the “Ahern Preferential
11   Transfers”).
12           132.    Ahern Rentals was an insider of DC Solar as: (1) Ahern Rentals and DC Solar,
13   through (possibly among others) their senior executives Carpoff (on the one hand) and Don Ahern
14   and Evan Ahern (on the other hand) had a very close relationship; and (2) the transactions between
15   Ahern Rentals and DC Solar were negotiated and implemented at less than arm’s length.
16           133.    Ahern Rentals was a creditor of DC Solar and the Ahern Preferential Transfers
17   benefitted Ahern Rentals. The Ahern Preferential Transfers were made on account of an antecedent
18   debt as the liability arose prior to the Petition Date.
19           134.    DC Solar was presumptively insolvent and actually insolvent at the time of the
20   Ahern Preferential Transfers. During the period of the Ahern Preferential Transfers, Carpoff was
21   perpetrating the Carpoff Ponzi Scheme through DC Solar and other entities. By virtue of the
22   Carpoff Ponzi Scheme and the claims held by the buyers of MSGs against DC Solar, among other
23   reasons, DC Solar was insolvent as its liabilities exceeded its assets.
24           135.    The Ahern Preferential Transfers enabled Ahern Rentals to receive more than it
25   would have received if the case were a case under Chapter 7, the Ahern Preferential Transfers had
26   not been made, and it received payment to the extent of the provisions of this title.
27
28


                                                        19
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                                                COUNT II
 1
                                        Actual Fraudulent Transfer
 2                                       11 U.S.C. § 548(a)(1)(A)
                                             [Ahern Rentals]
 3
            136.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
 4
            137.    DC Solar made certain of the Ahern Rentals Transfers within two years of the
 5
     Petition Date (“Ahern 2-Year Transfers”).
 6
            138.    Carpoff caused DC Solar to make the Ahern 2-Year Transfers with the actual intent
 7
     to hinder, delay or defraud the Debtors’ creditors.
 8
                                              COUNT III
 9
                                    Constructive Fraudulent Transfer
10                                     11 U.S.C. §§ 548(a)(1)(B)
                                            [Ahern Rentals]
11
            139.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
12
13          140.    DC Solar made the Ahern 2-Year Transfers within two years of the Petition Date.

14          141.    By no later than the time of the Ahern 2-Year Transfers, Carpoff was perpetrating

15   the Carpoff Ponzi Scheme through DC Solar and other entities. At the time of the Ahern 2-Year

16   Transfers, because of the Carpoff Ponzi Scheme and the claims of the buyers of MSGs against DC

17   Solar, DC Solar: (1) was insolvent, as their liabilities exceeded their assets; (2) were engaged (and

18   were continuing to engage) in a business or transaction for which DC Solar’s property remaining

19   after the Ahern 2-Year Transfers constituted unreasonably small capital; and (3) would incur debts

20   beyond their ability to pay.

21          142.    DC Solar did not receive reasonably equivalent value in exchange for the Ahern 2-

22   Year Transfers. Indeed, Carpoff caused all (or nearly all) of the Ahern 2-Year Transfers to be made

23   by DC Solar on account of EE’s obligations under the Ahern Rentals-EE Sublease, for which DC

24   Solar was not an obligor.

25                                           COUNT IV
                                     Actual Fraudulent Transfer
26                  11 U.S.C. § 544 and California Civil Code §§ 3439.04(a)(1) and
                       3439.07, NRS 112.180(1)(a), or other applicable state law
27                                        [Ahern Rentals]
28
            143.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.

                                                      20
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            144.    DC Solar made certain of the Ahern Transfers within four years of the Petition Date
 1
     (“Ahern 4-Year Transfers”).
 2
            145.    DC Solar made the Ahern 4-Year Transfers with the actual intent to delay, hinder
 3
     or defraud the Debtors’ creditors.
 4
                                             COUNT V
 5
                                 Constructive Fraudulent Transfer
 6            11 U.S.C. § 544 and California Civil Code §§ 3439.04(a)(2) or 3439.05 and
           3439.07, NRS 112.180(1)(b), NRS 112.190(1) & (2), or other applicable state law
 7                                        [Ahern Rentals]
 8
            146.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
 9
            147.    DC Solar made the Ahern 4-Year Transfers within four years of the Petition Date.
10
            148.    By no later than the time of the Ahern 4-Year Transfers, Carpoff was perpetrating
11
     the Carpoff Ponzi Scheme through DC Solar and other entities. The Ahern 4-Year Transfers were
12
     made (1) without DC Solar receiving reasonably equivalent value in exchange for such transfers;
13
     and (2) at a time when DC Solar were insolvent or as a result of which DCSS and DCSD became
14
     insolvent; or (3) at a time that DC Solar was engaged in a business or a transaction, or about to
15
     engage in a business or a transaction, for which any property remaining with DC Solar was an
16
     unreasonably small capital; or (4) at a time when DC Solar would incur debts that would be beyond
17
     DC Solar’s ability to pay as such debts matured.
18
            149.    DC Solar did not receive reasonably equivalent value in exchange for the Ahern 4-
19
     Year Transfers. Indeed, Carpoff caused all (or nearly all) of the Ahern 4-Year Transfers to be made
20
     by DC Solar on account of EE’s obligations under the Ahern Rentals-EE Sublease, for which DC
21
     Solar was not an obligor.
22
                                            COUNT VI
23              Quasi-Contract Seeking Restitution as Remedy for Unjust Enrichment
                                         [Ahern Rentals]
24
25          150.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.

26          151.    As a result of the Ahern 4-Year Transfers, DC Solar conferred a benefit upon Ahern

27   Rentals.

28


                                                     21
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            152.     Because, among other things, the Ahern 4-Year Transfers were made in connection
 1
     with and in furtherance of the Carpoff Ponzi Scheme, and for which the Debtors received no value
 2
     because the Debtors were not obligors to Ahern Rentals on these payments, Ahern Rentals wrongly
 3
     and unjustly received and retained this benefit.
 4
            153.     Ahern Rentals wrongly and unjustly received and retained the benefit of the Ahern
 5
     4-Year Transfers.
 6
            154.     It would be unjust to permit Ahern Rentals to retain this benefit.
 7
            155.     Ahern Rentals knew or had reason to know of the facts constituting its unjust
 8
     enrichment, as it had knowledge of and was a participant in Carpoff’s wrongdoing and provided
 9
     no value to DC Solar in exchange.
10
                                                COUNT VII
11
                                               11 U.S.C. §550
12                                            [Ahern Rentals]

13          156.     The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
14          157.     Ahern Rentals is the initial transferee of the Ahern Transfers, and the entity for
15   whose benefit the Ahern Transfers were made.
16          158.     Therefore, once avoided, the Trustee may recover the Ahern Transfers from Ahern
17   Rentals.
18                                             COUNT VIII
                                           Disallowance of Claim
19
                                              [Ahern Rentals]
20
            159.     The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
21
            160.     Ahern Rentals filed the following proofs of claim in Distribution’s bankruptcy
22
     cases: Claim No. 1-1 (in the name of 7975 Orchestra Ave but the face of the claim and the attaching
23
     documents indicates it is on Ahern Rentals’ behalf) and Claim No. 2-1; and the following claim in
24
     Solutions’ bankruptcy case: Claim 2-1 (in the name of 7975 Orchestra Ave but the face of the
25
     claim and the attaching documents indicates it is on behalf of Ahern Rentals) (collectively, the
26
     “Ahern POCs”).
27
            161.     The Ahern POCs should be disallowed pursuant to 11 U.S.C. § 502(d). See Counts
28
     1-5, 7 above.

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             162.    The Ahern POCs should be disallowed because Ahern Rentals was a wrongdoer in
 1
     connection with Carpoff, including participating in the Carpoff Ponzi Scheme.
 2
             163.    The Ahern POCs should be disallowed because EE was the obligor to Ahern
 3
     Rentals, and not DC Solar.
 4
                                                 COUNT IX
 5
                                   Preferential Transfer - 11 U.S.C. § 547
 6                                                [Xtreme]

 7           164.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
 8           165.    DC Solar made certain of the Xtreme Transfers within 90 days of the Petition Date
 9   (“Xtreme 90-Day Transfers”).
10           166.    DC Solar made certain of the Xtreme Transfers within 1 year of the Petition Date
11   (“Xtreme 1-Year Transfers,” and together with the Xtreme 90-Day Transfers, the “Xtreme
12   Preferential Transfers”).
13           167.    Xtreme was a DC Solar insider as: (1) Xtreme and DC Solar, through (possibly
14   among others) their senior executives Carpoff (on the one hand) and Don Ahern and Evan Ahern
15   (on the other hand), had a very close relationship; and (2) the transactions between and among
16   Xtreme and DC Solar were negotiated and implemented at less than arm’s length.
17           168.    Xtreme was a creditor of DC Solar and the Xtreme Preferential Transfers benefitted
18   Xtreme. The Xtreme Preferential Transfers were made on account of an antecedent debt as the
19   liability arose prior to the Petition Date.
20           169.    DC Solar was presumptively insolvent and actually insolvent at the time of the
21   Xtreme Preferential Transfers. During the period of the Xtreme Preferential Transfers, Carpoff
22   was perpetrating the Carpoff Ponzi Scheme through DC Solar and other entities. By virtue of the
23   Carpoff Ponzi Scheme and the claims held by the buyers of MSGs against DC Solar, among other
24   reasons, DC Solar was insolvent as its liabilities exceeded its assets.
25           170.    The Xtreme Preferential Transfers enabled Xtreme to receive more than it would
26   have received if the case were a case under Chapter 7, the Xtreme Preferential Transfers had not
27   been made, and it received payment to the extent of the provisions of this title.
28


                                                      23
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                                                COUNT X
 1
                                        Actual Fraudulent Transfer
 2                                       11 U.S.C. § 548(a)(1)(A)
                                                 [Xtreme]
 3
            171.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
 4
            172.    DC Solar made certain of the Xtreme Transfers within two years of the Petition
 5
     Date (“Xtreme 2-Year Transfers”).
 6
            173.    Carpoff caused DC Solar to make the Xtreme 2-Year Transfers with the actual
 7
     intent to hinder, delay or defraud the Debtors’ creditors.
 8
                                               COUNT XI
 9
                                    Constructive Fraudulent Transfer
10                                     11 U.S.C. §§ 548(a)(1)(B)
                                                [Xtreme]
11
            174.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
12
13          175.    DC Solar made the Xtreme 1-Year Transfers within one year of the Petition Date.

14          176.    By no later than the time of the Xtreme 1-Year Transfers, Carpoff was perpetrating

15   the Carpoff Ponzi Scheme through DC Solar and other entities. At the time of the Xtreme Advance

16   Transfers, because of the Carpoff Ponzi Scheme and the claims of the buyers of MSGs against DC

17   Solar, DC Solar: (1) were insolvent, as their liabilities exceeded their assets; (2) were engaged (and

18   were continuing to engage) in a business or transaction for which DCSS’ and DCSD’s property

19   remaining after the Xtreme Advance Transfers constituted unreasonably small capital; and (3)

20   would incur debts beyond their ability to pay.

21          177.    DC Solar did not receive reasonably equivalent value in exchange for the Xtreme

22   1-Year Transfers. The Xtreme 1-Year Transfers were advance payments on MSGs that were never

23   delivered to DC Solar. DC Solar otherwise did not receive what it bargained for under the

24   Manufacturing Agreement. And DC Solar otherwise did not receive fair return value.

25          178.    DC Solar also did not receive fair return value for the Xtreme 1-Year Transfers

26   because Xtreme’s controlling people, including Don Ahern and Evan Ahern, were bad actors that

27   were harming DC Solar including by participating in Carpoff’s wrongdoing.

28


                                                      24
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            179.    Pursuant to the Manufacturing Agreement, or otherwise, DC Solar provided
 1
     Xtreme with batteries, panels and other componentry parts (“DC Solar Property”) owned by DC
 2
     Solar for Xtreme to use to assemble the MSGs.
 3
            180.    Upon information and belief, at the time of the Raid, DC Solar had provided a
 4
     substantial amount of DC Solar Property to Xtreme.
 5
            181.    Upon information and belief, Xtreme never provided the completed MSGs to DC
 6
     Solar nor did it return the DC Solar Property to DC Solar, instead retaining it for its own benefit.
 7
            182.    DC Solar did not receive fair value in exchange for Extreme’s retention of the DC
 8
     Solar Property.
 9
10
                                             COUNT XII
11                                   Actual Fraudulent Transfer
                    11 U.S.C. § 544 and California Civil Code §§ 3439.04(a)(1) and
12                 3439.07, Nevada Stat. 112.180(1)(a), or other applicable state law
                                              [Xtreme]
13
14          183.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.

15          184.    DC Solar made certain of the Xtreme Transfers within four years of the Petition

16   Date (“Xtreme 4-Year Transfers”).

17          185.    DC Solar made the Xtreme 4-Year Transfers with the actual intent to delay, hinder

18   or defraud the Debtors’ creditors.

19                                          COUNT XIII
                         Fraudulent Transfer, 11 U.S.C. §544 and NRS 112.190
20                                             [Xtreme]
21          186.    The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
22          187.    DC Solar made the Xtreme 4-Year Transfers within 4 years of the Petition Date.
23          188.    By no later than the time of the Xtreme 4-Year Transfers, Carpoff was perpetrating
24   the Carpoff Ponzi Scheme through DC Solar and other entities. At the time of the Xtreme 4-Year
25   Transfers, because of the Carpoff Ponzi Scheme and the claims of the buyers of MSGs against DC
26   Solar, DC Solar: (1) were insolvent, as their liabilities exceeded their assets; (2) were engaged (and
27   were continuing to engage) in a business or transaction for which DCSS’ and DCSD’s property
28


                                                      25
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     remaining after the Xtreme 4-Year Transfers constituted unreasonably small capital; and (3) would
 1
     incur debts beyond their ability to pay.
 2
            189.     These payments were made on an antecedent debt, arising from the Manufacturing
 3
     Agreement.
 4
            190.     Xtreme was an insider of DC Solar, through the close relationship with Don Ahern
 5
     and Evan Ahern, among others.
 6
            191.     Xtreme had reason to believe the debtor was insolvent, through Don Ahern and
 7
     Evan Ahern, among others.
 8
                                                 COUNT XIV
 9
                                                11 U.S.C. §550
10                                                 [Xtreme]

11          192.     The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.

12          193.     Xtreme is the initial transferee of the Xtreme Transfers, and the entity for whose

13   benefit the Xtreme Transfers were made. Therefore, once avoided, the Trustee may recover the

14   Xtreme Transfers from Xtreme.

15                                              COUNT XV
                                           Disallowance of Claim
16                                                [Xtreme]
17
            194.     The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.
18
            195.     Xtreme filed the following proof of claim in the Solutions bankruptcy case: Claims
19
     Nos. 29-1 (“Xtreme POC”).
20
            196.     The Xtreme POC should be disallowed pursuant to 11 U.S.C. § 502(d). See Counts
21
     9 – 14 above.
22
            197.     The Xtreme POC (and any other proof of claim asserted by or on behalf of Xtreme)
23
     should be disallowed because Xtreme was a wrongdoer in connection with Carpoff, including
24
     participating in Carpoff’s wrongdoing.
25
                                            COUNT XVI
26                        Turnover – 11 U.S.C. § 542 and other applicable law
                                               [Xtreme]
27
28          198.     The Trustee re-alleges paragraphs 1 through 128 as though fully stated herein.


                                                     26
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            199.   Pursuant to the Manufacturing Agreement, or otherwise, DC Solar provided the DC
 1
     Solar Property to Xtreme to use to assemble the MSGs.
 2
            200.   Upon information and belief, at the time of the Raid, DC Solar had provided a
 3
     substantial amount of DC Solar Property to Xtreme.
 4
 5          201.   Xtreme never provided the completed MSGs to DC Solar nor did it return the DC

 6   Solar Property to DC Solar.

 7          202.   Xtreme should be required to turn over the DC Solar Property to the Trustee.

 8          WHEREFORE, the Trustee prays for and demands order and judgment against the

 9   Defendants as follows:

10      (1) Count I:       Avoiding the Ahern Preferential Transfers.

11      (2) Count II:      Avoiding the Ahern 2-Year Transfers.

12      (3) Count III:     Avoiding the Ahern 2-Year Transfers.

13      (4) Count IV:      Avoiding the Ahern 4-Year Transfers.

14      (5) Count V:       Avoiding the Ahern 4-Year Transfers.

15      (6) Count VI:      Restitution in the amount of the Ahern 4-Year Transfers.

16      (7) Count VII:     Entering a Judgment in the amount of the avoided transfers in favor of the

17          Trustee and against Ahern Rentals;
18      (8) Count VIII:    Disallowing the Ahern POCs.
19      (9) Count IX:      Avoiding the Xtreme Preferential Transfers
20      (10)       Count X:        Avoiding the Xtreme 2-Year Transfers
21      (11)       Count XI:       Avoiding the Xtreme 1-Year Transfers
22      (12)       Count XII:      Avoiding the Xtreme 4-Year Transfers
23      (13)       Count XIII:     Avoiding the Xtreme 4-Year Transfers
24      (14)       Count XIV:      Entering a Judgment in the amount of the avoided transfers in favor
25          of the Trustee and against Xtreme.
26      (15)       Count XV:       Disallowing the Xtreme POCs.
27      (16)       Count XVI:      Ordering that Xtreme turn over the DC Solar Property to the Trustee
28          or otherwise pay their fair value to the Trustee.

                                                     27
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            In addition, the Trustee requests from the Court (1) interest both before and after the
 1
     commencement of this action; (2) attorney’s fees as allowable by law; (3) punitive damages as
 2
     allowable by law; and (4) any such other and further relief, equitable or otherwise, that this Court
 3
     deems just and proper.
 4
 5          DATED: January 14, 2022.

 6                                                 HARTMAN & HARTMAN

 7                                                 /s/ Jeffrey L. Hartman, Esq.
                                                   Jeffrey L. Hartman, Esq.
 8                                                 Attorneys for Plaintiff Christina W. Lovato
 9
                                                   MELAND BUDWICK, P.A.
10
                                                   /s/ Michael S. Budwick, Esq.
11                                                 Michael S. Budwick, Esq., Admitted Pro Hac Vice
12                                                 Solomon B. Genet, Esq., Admitted Pro Hac Vice
                                                   Gil Ben-Ezra, Esq., Admitted Pro Hac Vice
13                                                 Attorneys for Plaintiff Christina W. Lovato
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   'DWH                                                               'LVEXUVHPHQWV
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   &OHDU                                                                     &DVK
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                                                                                                EXHIBIT 2 3DJHRI
